46 F.3d 1149
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.In re Herbert Herman WEISBERG and Delphine Ruth Weisberg, Debtors,Edward M. WOLKOWITZ, Plaintiff-Appellant,andDavid R. Weinstein, Appellant,v.SHEARSON LEHMAN BROTHERS, INC., Defendant-Appellee.
    No. 94-55965.
    United States Court of Appeals, Ninth Circuit.
    Submitted:  Jan. 25, 1995.*Decided:  Feb. 3, 1995.
    
      Before:  WALLACE, Chief Judge, HALL and KLEINFELD, Circuit Judges.
      MEMORANDUM**
      Chapter 11 trustee Edward Wolkowitz and attorney David Weinstein appeal the Bankruptcy Appellate Panel's order dismissing their appeal as untimely.  We have jurisdiction pursuant to 28 U.S.C. Sec. 158(d), and we reverse the BAP's order of dismissal and remand for further proceedings in accordance with Arrowhead Estates Development Co. v. U.S. Trustee, Nos. 93-55530 and 93-56560, slip op. 15921, 15931 (9th Cir.  Dec. 30, 1994).
      REVERSED AND REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed. R. App.  P. 34(a); 9th Cir.  R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    